               Case 22-15714-PDR         Doc 16     Filed 07/27/22     Page 1 of 2




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov


In re:                                                        Case No. 22-15714-PDR

POMPANO SENIOR SQUADRON                                       Chapter 11
FLYING CLUB, INC.,                                            (Subchapter V)

      Debtor.
______________________________/

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that true and correct copies of: (1) Debtor’s Emergency Motion for

Turnover of Estate Funds (ECF No. 3 and 14); (2) Re-Notice of Hearing re Debtor’s Emergency

Motion for Turnover of Estate Funds (ECF No. 7); (3) Application For Interim And Final Order

Authorizing The Employment And Retention Of Craig A. Pugatch, Esq. And Lorium Law As

Counsel For The Debtor In Possession Effective As Of The Petition Date (ECF No. 11); and, (4)

Chapter 11 Case Management Summary (ECF No. 13) was served via U.S. Mail to all parties on

the attached Mailing Matrix on this 27th day of July, 2022.


                                             LORIUM LAW
                                             Attorneys for Debtor in Possession, Pompano Senior
                                             Squadron Flying Club, Inc.
                                             101 NE Third Avenue, Suite 1800
                                             Fort Lauderdale, FL 33301
                                             Telephone: (954) 462-8000
                                             Facsimile: (954) 462-4300

                                             By: /s/ Craig A. Pugatch
                                                     CRAIG A. PUGATCH
                                                     Florida Bar No. 653381
                                                     capugatch@loriumlaw.com



                                                1
                                      LORIUM LAW
                          FT. LAUDERDALE BOCA RATON CHICAGO
                                  Case 22-15714-PDR              Doc 16       Filed 07/27/22        Page 2 of 2
Label Matrix for local noticing                      Pompano Senior Squadron Flying Club, Inc.            Air Power, Inc.
113C-0                                               1421 South Ocean Boulevard                           4912 S. Collins Street
Case 22-15714-PDR                                    Suite 102                                            Arlington, TX 76018-1135
Southern District of Florida                         Pompano Beach, FL 33062-7314
Fort Lauderdale
Wed Jul 27 14:26:48 EDT 2022
Airworthy Services, LLC                              Arthur J. Gallagher Risk Management                  Bruce Ayala
969 SE 6th Terrace                                   Services, Inc.                                       6835 NW 22nd Terrace
Pompano Beach, FL 33060-9401                         2580 Foxfield Road                                   Fort Lauderdale, FL 33309-1426
                                                     Suite 203
                                                     Saint Charles, IL 60174-1409

Carl L. J+Kennedy, II                                Michael Borer                                        Office of the US Trustee
2929 S. Ocean Boulevard                              c/o Jeffrey B. Lampert, Esq.                         51 S.W. 1st Ave.
Suite 510                                            The Barrister Building                               Suite 1204
Boca Raton, FL 33432-8323                            1615 Forum Place, Suite 4-B                          Miami, FL 33130-1614
                                                     West Palm Beach, FL 33401-2317

Paul K. Sanchez                                      Paul K. Sanchez                                      Paul K. Sanchez
10643 Shore Drive                                    Boca Raton, FL 33428                                 c/o Robert J. Puzio, Esq.
Boca Raton, FL 33428-5645                                                                                 The Litigation Defense Group, Inc.
                                                                                                          1040 Bayview Drive, Suite 520
                                                                                                          Fort Lauderdale, FL 33304-2506

Sarasota Avionics & Maintenance                      Sunwood, Inc.                                        Carol Lynn Fox
120 Airport Avenue West                              c/o Dana Stanish, Esq.                               200 East Broward Blvd Suite 1010
Venice, FL 34285-3921                                Law Offices of Dane Stanish, P.A.                    Ft Lauderdale, FL 33301-1943
                                                     3475 Sheridan Street, Suite 209
                                                     Hollywood, FL 33021-3659

(p)RICE PUGATCH ROBINSON STORFER & COHEN PLL
ATTN C/O CRAIG A PUGATCH ESQ
101 NE 3RD AVENUE
SUITE 1800
FORT LAUDERDALE FL 33301-1252



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Craig A. Pugatch Esq
101 NE 3 Ave #1800
Ft Lauderdale, FL 33301




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Airworthy Services, LLC                           (u)Paul K. Sanchez                                   End of Label Matrix
                                                                                                          Mailable recipients   15
                                                                                                          Bypassed recipients    2
                                                                                                          Total                 17
